         Case 5:20-cv-01138-J Document 9 Filed 12/07/20 Page 1 of 3




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

(1)   ANTHONY P. TUFARO, D.D.S.,               )
      M.D., F.A.C.S.,                          )
                                               )
                           Plaintiff,          )
                                               )
      v.                                       )   Case No. CIV-20-1138-J
                                               )
(1)   STATE OF OKLAHOMA, ex rel.               )   (Removed from Oklahoma County
      THE BOARD OF REGENTS for the             )   District Court Case No.
      UNIVERSITY OF OKLAHOMA,                  )   CJ-20-5001)
                                               )
(2)   JASON R. SANDERS, M.D., MBA, in )
      his individual capacity and his official )
      capacity as the Senior Vice President    )
      and Provost,                             )
                                               )
(3)   JOHN P. ZUBIALDE, M.D., in his           )
      individual capacity and his official     )
      Capacity as the Executive Dean of        )
      the College of Medicine,                 )
                                               )
(4)   STEVEN M. SULLIVAN, D.D.S.,              )
      F.A.C.S., F.A.C.D., in his individual    )
      Capacity and his official capacity as    )
      Chair of the Department of Surgical      )
      Sciences;                                )
                                               )
(5)   KEVIN S. SMITH, D.D.S., in his           )
      individual capacity only,                )
                                               )
(6)   PAUL S. TIWANA, D.D.S., in his           )
      individual capacity only,                )
                                               )
(7)   BARISH H. EDIL, M.D., F.A.C.S., in )
      his individual capacity and his official )
      capacity as the Chair of the Department )
      of Surgery,                              )
                                               )
                           Defendants.         ) JURY TRIAL DEMANDED


                                       1
             Case 5:20-cv-01138-J Document 9 Filed 12/07/20 Page 2 of 3




     PLAINTIFF DR. TUFARO’S AMENDED MOTION TO FILE EXCESS PAGES

       Pursuant to Local Rule 7.1, Plaintiff, Anthony P. Tufaro, D.D.S., M.D., F.A.C.S., (“Dr.

Tufaro”) requests leave to file a response in excess of 25 pages. In support, Dr. Tufaro states the

following:

       1.      Defendant State of Oklahoma ex rel.¸ Board of Regents of the University of

Oklahoma filed a Motion to Dismis (Dkt. No. 5) on November 17, 2020. Defendants Jason

Sanders, John P. Zubialde, Barish H. Edil, and Steven M. Sullivan filed a Motion to Dismiss (Dkt.

No. 6) on November 17, 2020. Defendants Kevin S. Smith and Paul S. Tiwana also filed a Motion

to Dismiss (Dkt. No. 7) on November 17, 2020. The motions to dismiss filed by Defendants (Dkt.

Nos. 5 – 7) will be collectively referred to herein as the “Motions to Dismiss.”

       2.      Dr. Tufaro’s response to the Motions to Dismiss is December 8, 2020.

       3.      Pursuant to Rule 7.1(e), a response brief is to be no more than 25 pages.

       4.      Dr. Tufaro requests that he be granted an additional 5 pages to respond to the

Motions to Dismiss.

       5.      The issues raised in the Motions to Dismiss are interrelated and overlapping. As a

result, Dr. Tufaro will be filing one, combined response to the Motions to Dismiss instead of three

separate, 25-page briefs. To adequately address the issues in one combined response, an additional

5 pages is needed.

       6.      Defendants do not object to the request.

       7.      This is the first request to file excess pages.

                                     RELIEF REQUESTED

       Dr. Tufaro requests that he be permitted to file a combined response to the Motions to

Dismiss not to exceed 30 pages.

                                                  2
                                                                                           OK 555161.1
                                                                                           OK 564315.1
            Case 5:20-cv-01138-J Document 9 Filed 12/07/20 Page 3 of 3




                                            Respectfully submitted,

                                            s/Courtney D. Powell
                                            Shannon F. Davies, OBA No. 13565
                                            George S. Freedman, OBA No. 15764
                                            Courtney D. Powell, OBA No. 19444
                                            Spencer Fane LLP
                                            9400 North Broadway Extension, Suite 600
                                            Oklahoma City, Oklahoma 73114-7423
                                            Telephone: (405) 844-9900
                                            Facsimile: (405) 844-9958
                                            Email: sdavies@spencerfane.com
                                            gfreedman@spencerfane.com
                                            Attorneys for Plaintiff, Dr. Anthony P. Tufaro,
                                            D.D.S., M.D., F.A.C.S

                                            ATTORNEY’S LIEN CLAIMED




                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 7, 2020, I electroncially transmitted the attached
document to the Clerk of Court using the ECF system for filing. Based on the records currently
on file, the Clerk of Court will transmit Notice of Electronic Filing to the following ECF
registrats:

Heidi J. Long (hlong@ou.edu)
Tina S. Ikpa (tsikpa@ou.edu)
Office of Legal Counsel
University of Oklahoma
660 Parrington Oval, Suite 213
Norman, Oklahoma 73019
Attorneys for Defendants


                                            s/Courtney D. Powell




                                               3
                                                                                       OK 555161.1
                                                                                       OK 564315.1
